LAED CM/ECF - Live                                                    https://laed-ecf.sso.dcn/cgi-bin/DktRpt.pl?134295121851347-L_1_0-1
                         Case MDL No. 875 Document 10153-1 Filed 07/19/22 Page 1 of 79


                                             U.S. District Court
                                 Eastern District of Louisiana (New Orleans)
                           CIVIL DOCKET FOR CASE #: 2:22-cv-01991-GGG-JVM


         Reno v. Anco Insulations Inc, et al                                 Date Filed: 06/29/2022
         Assigned to: Judge Greg Gerard Guidry                               Jury Demand: Plaintiff
         Referred to: Magistrate Judge Janis van Meerveld                    Nature of Suit: 195 Contract Product
         Case in other court: Civil District Court, Orleans Parish,          Liability
                             20-03366 B-5                                    Jurisdiction: Diversity
         Cause: 28:1332 Diversity-Asbestos Litigation
         Plaintiff
         James B Reno                                        represented by Mickey P. Landry
                                                                            Landry & Swarr, LLC
                                                                            1100 Poydras Street
                                                                            Ste 2000
                                                                            New Orleans, LA 70163
                                                                            502-299-1214
                                                                            Email: mlandry@landryswarr.com
                                                                            LEAD ATTORNEY
                                                                            ATTORNEY TO BE NOTICED

                                                                             Frank J. Swarr
                                                                             Landry & Swarr, LLC
                                                                             1100 Poydras Street
                                                                             Ste 2000
                                                                             New Orleans, LA 70163
                                                                             504-299-1214
                                                                             Fax: 504-299-1215
                                                                             Email: fswarr@landryswarr.com
                                                                             ATTORNEY TO BE NOTICED

                                                                             Matthew C. Clark
                                                                             Landry & Swarr, LLC
                                                                             1100 Poydras Street
                                                                             Suite 2000
                                                                             New Orleans, LA 70163
                                                                             504-299-1214
                                                                             Fax: 504-299-1215
                                                                             Email: mclark@landryswarr.com
                                                                             ATTORNEY TO BE NOTICED
              Jul 16 2022                                                    Philip C Hoffman
                                                                             Philip C. Hoffman, LLC
                                                                             643 Magazine Street
                                                                             Suite 300 A
                                                                             New Orleans, LA 70130
                                                                             504-822-6050


1 of 8                                                                                                             7/16/2022, 11:24 AM
LAED CM/ECF - Live                                       https://laed-ecf.sso.dcn/cgi-bin/DktRpt.pl?134295121851347-L_1_0-1
                       Case MDL No. 875 Document 10153-1 Filed 07/19/22 Page 2 of 79

                                                                Fax: 504-313-3911
                                                                Email: phil@pchlawfirm.com
                                                                ATTORNEY TO BE NOTICED


         V.
         Defendant
         Anco Insulations Inc

         Defendant
         Eagle Inc.
         formerly known as
         Eagle Asbestos & Packing Company

         Defendant
         J. Graves Insulation Company, Inc.
         formerly known as
         Graves-Aber Insulation Company, Inc.

         Defendant
         McCarty Corporation

         Defendant
         Taylor-Seidenbach, Inc.

         Defendant
         Arrowood Indemnity Company
         As Successor to Queen Insurance
         Company of America and Royal Indemnity
         Insurance Company, As Insurer of Aber
         Company

         Defendant
         Travelers Casualty and Surety
         Company
         formerly known as
         Aetna Casualty and Surety Company

         Defendant
         Louisiana Insurance Guarantee
         Association

         Defendant
         Bayer Cropscience LP
         as successor to Rhone-Poulenc
         BasicChemicals
         formerly known as
         Aventis Cropscience USA




2 of 8                                                                                                7/16/2022, 11:24 AM
LAED CM/ECF - Live                                        https://laed-ecf.sso.dcn/cgi-bin/DktRpt.pl?134295121851347-L_1_0-1
                        Case MDL No. 875 Document 10153-1 Filed 07/19/22 Page 3 of 79

         Defendant
         Cabot Corporation

         Defendant
         CF Industries Nitrogen, LLC
         formerly known as
         Triad Nitrogen, Inc.
         formerly known as
         Ampro Chemical, Inc.

         Defendant
         CF Industries Inc

         Defendant
         CIBA-GEIGY Corporation
         also known as
         Novartis Corporation

         Defendant
         CITGO Petroleum Corporation

         Defendant
         Cleco Cajun, LLC
         formerly known as
         Cleco Energy, LLC

         Defendant
         Cleco Corporate Holdings, LLC
         formerly known as
         CLECO Corporation

         Defendant
         ConocoPhillips Company
         Individually and as successor to Conoco,
         Inc. and Phillips Petroleum Company

         Defendant
         Dow Chemical Company

         Defendant
         Entergy Louisiana, LLC

         Defendant
         Exxon Mobil Corporation
         successor by merger to Enjay Chemical
         Company

         Defendant




3 of 8                                                                                                 7/16/2022, 11:24 AM
LAED CM/ECF - Live                                         https://laed-ecf.sso.dcn/cgi-bin/DktRpt.pl?134295121851347-L_1_0-1
                         Case MDL No. 875 Document 10153-1 Filed 07/19/22 Page 4 of 79

         Formosa Plastics Corporation,
         Louisiana

         Defendant
         Georgia-Pacific Consumer Products LP
         individually and as successor-in-interest to
         James River Corporation
         formerly known as
         Crown Zellerbach Corporation

         Defendant
         Hercules, LLC
         formerly known as
         Hercules Inc
         formerly known as
         Hercules Chemical Company, Inc.

         Defendant
         Honeywell International Inc.
         as successor in interest to Allied Chemcial
         Corporation and the Solvay Process
         Company

         Defendant
         Melamine Chemicals, Inc.
         also known as
         CF Industries Nitrogen, LLC

         Defendant
         Phillips 66 Company

         Defendant
         Shell Oil Company

         Defendant
         Triad Chemical Company

         Defendant
         Uniroyal Inc
         formerly known as
         United States Rubber Company, Inc.

         Defendant
         Ref-Chem LP

         Defendant
         Bayer Cropscience LP
         as successor to Rhone-Poulenc AG
         Company



4 of 8                                                                                                  7/16/2022, 11:24 AM
LAED CM/ECF - Live                                         https://laed-ecf.sso.dcn/cgi-bin/DktRpt.pl?134295121851347-L_1_0-1
                         Case MDL No. 875 Document 10153-1 Filed 07/19/22 Page 5 of 79

         formerly known as
         Benjamin Foster Co

         Defendant
         CBS Corporation
         formerly known as
         Viacom Inc
         formerly known as
         Westinghouse Electric Corporation

         Defendant
         Foster Wheeler Energy Corporation

         Defendant
         Foster Wheeler LLC

         Defendant
         General Electric Company

         Defendant
         Riley Power, Inc.
         formerly known as
         Babcock Borsig Power, Inc.
         formerly known as
         D.B. Riley, Inc.
         also known as
         Riley Stoker Corporation

         Defendant
         Mechanical Insulation, Inc.
         Page 1 of doc. 1-2

         Defendant
         Jacobs Constructors, Inc.
         Page 2 of 1-2
         formerly known as
         Jacobs/Wiese Constructors, Inc.
         formerly known as
         H.E. Wiese

         Defendant
         Turner Industries Group, L.L.C.
         Page 2 of doc. 1-2; as successor to Nichols
         Construction Company, LLC

         Defendant
         Continental Casualty Company
         Page 3 of doc 1-2; as the insurer of
         Uniroyal Inc.



5 of 8                                                                                                  7/16/2022, 11:24 AM
LAED CM/ECF - Live                                         https://laed-ecf.sso.dcn/cgi-bin/DktRpt.pl?134295121851347-L_1_0-1
                         Case MDL No. 875 Document 10153-1 Filed 07/19/22 Page 6 of 79

         Defendant
         Underwriters At Lloyds London
         Page 3 of doc. 1-2; as the insurer of
         Uniroyal, Inc.

         Defendant
         Chevron USA Inc
         Page 3 of doc. 1-2; as successor to Gulf
         Oil Corporation

         Third Party Plaintiff
         Certain Underwriters at Lloyd's            represented by Paula Marcello Wellons
         London                                                    Taylor, Wellons, Politz & Duhe APLC
         Page 1 of Doc 1-3                                         Louisiana
                                                                   1555 Poydras St.
                                                                   Suite 2000
                                                                   New Orleans, Suite 1900
                                                                   New Orleans, LA 70112
                                                                   504-387-9888
                                                                   Fax: 504-525-9899
                                                                   Email: pwellons@twpdlaw.com
                                                                   LEAD ATTORNEY
                                                                   ATTORNEY TO BE NOTICED

                                                                  Jonathan B. Womack
                                                                  Taylor, Wellons, Politz & Duhe APLC
                                                                  1555 Poydras Street
                                                                  Ste 2000
                                                                  New Orleans, LA 70112
                                                                  504-525-9888
                                                                  Fax: 504-525-9899
                                                                  Email: jwomack@twpdlaw.com
                                                                  ATTORNEY TO BE NOTICED

                                                                  Paul Jeffrey Verlander
                                                                  Taylor, Wellons, Politz & Duhe, APLC
                                                                  1555 Poydras Street
                                                                  Suite 2000
                                                                  New Orleans, LA 70112
                                                                  504-525-9888
                                                                  Fax: 504-525-9899
                                                                  Email: pverlander@twpdlaw.com
                                                                  ATTORNEY TO BE NOTICED

                                                                  Samantha Paula Griffin
                                                                  Taylor, Wellons, Politz & Duhe, APLC
                                                                  1555 Poydras Street
                                                                  Ste 2000
                                                                  New Orleans, LA 70112-4042
                                                                  504-525-9888


6 of 8                                                                                                  7/16/2022, 11:24 AM
LAED CM/ECF - Live                                                  https://laed-ecf.sso.dcn/cgi-bin/DktRpt.pl?134295121851347-L_1_0-1
                       Case MDL No. 875 Document 10153-1 Filed 07/19/22 Page 7 of 79

                                                                           Fax: 504-525-9899
                                                                           Email: sgriffin@twpdlaw.com
                                                                           ATTORNEY TO BE NOTICED


         V.
         Third Party Defendant
         Uniroyal Holding, Inc.                             represented by Thomas Peyton Smith
         Page 1 of doc. 1-3                                                Forman, Watkins & Krutz LLP (New
                                                                           Orleans)
                                                                           201 St. Charles Ave.
                                                                           Suite 2100
                                                                           New Orleans, LA 70170
                                                                           504-799-4383
                                                                           Email: peyton.smith@formanwatkins.com
                                                                           LEAD ATTORNEY
                                                                           ATTORNEY TO BE NOTICED

                                                                           Mary Reeves Arthur
                                                                           Forman, Watkins & Krutz LLP (New
                                                                           Orleans)
                                                                           201 St. Charles Ave.
                                                                           Suite 2100
                                                                           New Orleans, LA 70170
                                                                           504-799-4383
                                                                           Email: Mimi.Arthur@formanwatkins.com
                                                                           ATTORNEY TO BE NOTICED


         Date Filed        #      Docket Text
         06/29/2022            1 NOTICE OF REMOVAL from Civil District Court, Orleans Parish, case number
                                 2020-03366 B-5 (Filing fee $ 402 receipt number ALAEDC-9423098) filed by
                                 Uniroyal Holding, Inc. (Attachments: # 1 State Court Pleading-Exhibit A, # 2
                                 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G,
                                 # 8 Exhibit H, # 9 Civil Cover Sheet) Attorney Thomas Peyton Smith added to
                                 party Uniroyal Holding, Inc.(pty:3pd).(Smith, Thomas) Modified text on 7/16/2022
                                 (mm). (Entered: 06/29/2022)
         06/29/2022            2 Initial Case Assignment to Judge Greg Gerard Guidry and Magistrate Judge Janis
                                 van Meerveld. (cc) (Entered: 06/29/2022)
         06/30/2022            3 MOTION to Dismiss for Failure to State a Claim by Uniroyal Holding, Inc..
                                 Motion(s) will be submitted on 7/20/2022. (Attachments: # 1 Memorandum in
                                 Support, # 2 Exhibit A, # 3 Exhibit B, # 4 Exhibit C, # 5 Exhibit D, # 6 Exhibit E, #
                                 7 Exhibit F, # 8 Notice of Submission)(Smith, Thomas) (Entered: 06/30/2022)
         06/30/2022            4 MOTION to Transfer Case by Uniroyal Holding, Inc.. Motion(s) will be submitted
                                 on 7/20/2022. (Attachments: # 1 Memorandum in Support, # 2 Exhibit A, # 3
                                 Exhibit B, # 4 Exhibit C, # 5 Exhibit D, # 6 Exhibit E, # 7 Exhibit F, # 8 Notice of
                                 Submission)(Smith, Thomas) (Entered: 06/30/2022)



7 of 8                                                                                                           7/16/2022, 11:24 AM
LAED CM/ECF - Live                                             https://laed-ecf.sso.dcn/cgi-bin/DktRpt.pl?134295121851347-L_1_0-1
                      Case MDL No. 875 Document 10153-1 Filed 07/19/22 Page 8 of 79

         06/30/2022        5 Statement of Corporate Disclosure by Uniroyal Holding, Inc. (Smith, Thomas)
                             (Entered: 06/30/2022)
         06/30/2022        6 EXPARTE/CONSENT MOTION to Enroll as Counsel of Record Mary R. Arthur
                             by Uniroyal Holding, Inc. (Attachments: # 1 Proposed Order)(Smith, Thomas)
                             (Entered: 06/30/2022)
         07/01/2022        7 ORDER GRANTING 6 Motion to Enroll as Counsel of Record. IT IS ORDERED
                             that Mary R. Arthur, of the law firm of Forman Watkins & Krutz LLP, be and is
                             hereby enrolled as additional counsel of record for Defendant, Uniroyal Holding,
                             Inc., in the above entitled and referenced matter. Signed by Judge Greg Gerard
                             Guidry on 7/1/2022. (pp) (Entered: 07/01/2022)
         07/12/2022        8 MOTION to Continue Submission Date on Uniroyal Holding, Inc.'s 12(B)(6)
                             Motion and Motion to Transfer Case re: rec. docs. 3 & 4 by Certain Underwriters at
                             Lloyd's London. Motion(s) will be submitted on 8/3/2022. (Attachments: # 1
                             Memorandum in Support, # 2 Proposed Order, # 3 Notice of Submission)(Griffin,
                             Samantha) (Entered: 07/12/2022)
         07/12/2022        9 RESPONSE/MEMORANDUM in Opposition filed by Certain Underwriters at
                             Lloyd's London re 3 MOTION to Dismiss for Failure to State a Claim. (Griffin,
                             Samantha) (Entered: 07/12/2022)
         07/12/2022      10 RESPONSE/MEMORANDUM in Opposition filed by Certain Underwriters at
                            Lloyd's London re 4 MOTION to Transfer Case. (Griffin, Samantha) (Entered:
                            07/12/2022)
         07/13/2022       11 Correction of Docket Entry by Clerk re 9 Response/Memorandum in Opposition to
                             Motion, 8 MOTION to Continue Submission Date on Uniroyal Holding, Inc.'s
                             12(B)(6) Motion and Motion to Transfer Case, 10 Response/Memorandum in
                             Opposition to Motion. **The Plaintiff's name must be corrected on all future
                             documents to reflect James B Reno.** (mm) (Entered: 07/13/2022)
         07/13/2022      12 Notice of Compliance by Uniroyal Holding, Inc. re 1 Notice of Removal. (Arthur,
                            Mary) Modified text/added linkage on 7/14/2022 (mm). (Entered: 07/13/2022)
         07/15/2022      13 RESPONSE to Motion filed by Uniroyal Holding, Inc. re 8 MOTION to Continue
                            Submission Date on Uniroyal Holding, Inc.'s 12(B)(6) Motion and Motion to
                            Transfer Case . (Arthur, Mary) (Entered: 07/15/2022)
         07/16/2022      14 Directive of the Clerk regarding compliance with 28:1447(b) re: 1 Notice of
                            Removal filed by Uniroyal Holding, Inc. By the Clerk. (mm) (Entered: 07/16/2022)




8 of 8                                                                                                      7/16/2022, 11:24 AM
            Case MDL No. 875 Document 10153-1 Filed 07/19/22 Page 9 of 79




                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF LOUISIANA

JAMES RENO                     *                     CIVIL ACTION NO: 2:22-cv-1991
                               *
          Plaintiff            *
                               *
VERSUS                         *
                               *
                               *
ANCO INSULATIONS, INC., ET AL. *
                               *
          Defendants           *
************************* *

                                    NOTICE OF REMOVAL

TO THE HONORABLE COURT, AND ALL PARTIES AND THEIR ATTORNEYS OF

RECORD:

       In accordance with 28 U.S.C. §§ 1332, 1441, and 1446, Uniroyal Holding, Inc.

(“Holding”), files and serves this Notice of Removal, hereby removing this Action from the

Civil District Court for the Parish of Orleans, Louisiana, to the United States District Court for

the Eastern District of Louisiana. Holding states the following as grounds for removal:

       1.       On April 28, 2020, Plaintiff James B. Reno filed an action in Louisiana state court

for injuries allegedly caused by asbestos, which he attributed to 36 separate defendants. See

Plaintiff’s Petition, attached hereto as Exhibit “A.” Mr. Reno filed his sixth amended petition,

adding Certain Underwriters at Lloyd’s London (“Certain Underwriters”) as a defendant, on

June 15, 2021. See Plaintiff’s Sixth Amended Petition, attached hereto as Exhibit “B.”

       2.       On January 28, 2022, Underwriters filed a Third Party Demand against Holding

in the matter styled James B. Reno v. Anco Insulations, Inc., et al., Cause No. 2020-03366 in

the Civil District Court for the Parish of Orleans, State of Louisiana (“the Underlying Action”).

See, Third Party Demand, attached hereto as Exhibit “C.” Certain Underwriters’ Third Party
        Case MDL No. 875 Document 10153-1 Filed 07/19/22 Page 10 of 79




Demand seeks the Court to determine the application of a Settlement Agreement between

Certain Underwriters and Holding to the Plaintiff’s claims in Reno. Id. Third Party Demand

seeks reimbursement of “defense costs, attorney’s fees, court costs and other amounts and

damages” relating to the Reno litigation. Id. at ¶ 13.

       3.      The Reno case was set for trial on May 9, 2022. See, Reno Notice of Trial,

attached hereto as Exhibit “D.” Upon information and belief, prior to the commencement of

the trial, the case resolved as to all of the plaintiff’s claims and with regard to all defendants

before Certain Underwriters served Holding with its Third Party Demand.

       4.      After it was clear the case would resolve before Holding could be served, Certain

Underwriters moved to sever their Third Party Demand from the Underlying Action, and the

Honorable Rachael Johnson of the Civil District Court for the Parish of Orleans granted the

motion by an order entered on May 9, 2022. See, Order of Severance, attached hereto as Exhibit

“E.”

       5.      Certain Underwriters’ Third Party Demand, upon severance from the Underlying

Action, became this action, effectively converting the Third Party Demand to a traditional

Plaintiff/Defendant matter in the absence of the original parties. Holding was finally served

with the sole remaining issue in this matter – Certain Underwriters’ demand for reimbursements

and attorneys’ fees on or about May 31, 2022. See, Long Arm Affidavit, attached hereto as

Exhibit “F.”

       After a Third Party Demand is severed from the original action, the third party defendant

may remove an action to federal court based upon complete diversity. See, Johns, Pendleton

& Associates v. Miranda, Warwick & Milazzo, No. CIV.A. 02-1486, 2002 WL 31001838 (E.D.

La. Sept. 4, 2002). In a case similar to the matter at hand, the Johns Court stated



                                                2
        Case MDL No. 875 Document 10153-1 Filed 07/19/22 Page 11 of 79




       The Court finds the circumstances of this case are analogous to those presented
       to the Fifth Circuit in Reigel. In both cases, the main demand was resolved
       separate and apart from the third-party complaint. While the main demand in the
       instant case was not “severed” from the third-party complaint, it was dismissed
       with prejudice upon payment of the claim by the third-party. Further, allowing
       third-party removal after the severance or dismissal of the plaintiff’s cause of
       action does not run afoul of the policy concern announced in Shamrock – that a
       third-party defendant should not be permitted to destroy an original plaintiff’s
       choice of forum…permitting third-party removal under § 1441(a) when the
       original choice of forum is not at issue, permits a third-party defendant to do
       what he could have, had the third-party complaint been filed as a separate lawsuit
       – remove the matter based on diversity.

Johns, 2002 WL 31001838, at *3 (emphasis in original). Here, the Reno Plaintiff has resolved

his claims and, therefore, Holding is not prohibiting his choice of forum in state court. Rather,

this separate and distinct action is removable based upon diversity jurisdiction.

       6.      There only two parties to this action: (1) Certain Underwriters, and (2) Holding.

Certain Underwriters is domiciled in New York and has its principal place of business in New

York. See pleadings filed in Devall, et. al v. Certain Underwriters Lloyd’s London, attached

collectively as Exhibit “G.” Holding is a New Jersey entity that is domiciled in Connecticut and

has its principal place of business in Connecticut. See, Holding’s Certificate of Incorporation

in the State of New Jersey and all amendments thereto, attached collectively as Exhibit “H.”

Accordingly, the controversy in this action is, at the time of commencement thereof was, and

at all times since has been, a controversy between citizens of different states. There is complete

diversity of citizenship between the parties.

       7.      Based upon the allegations and nature of the demand for damages in the Third Party

Demand, the amount in controversy exclusive of interest and costs in this action exceeds the

jurisdictional requirement of $75,000. See, 28 U.S.C. §1332. Specifically, Certain Underwriters

has demanded in excess of $75,000 plus attorneys’ fees to resolve this matter.




                                                3
         Case MDL No. 875 Document 10153-1 Filed 07/19/22 Page 12 of 79




       8.      Because Holding received the Third Party Demand on or about May 31, 2022,

this Notice of Removal is timely filed within 30 days of receipt of that initial pleading in

accordance with the provisions of 28 U.S.C. § 1446(b). See, Exhibit “F.” Moreover, this Notice

of Removal is filed within one year of the filing of the Certain Underwriters’ Third Party Demand.

See, Exhibit “C.”

       9.      Pursuant to the Court’s rules, Holding will file a certified copy of the state court

file within 14 days from the day of removal. Holding is also serving a copy of the Notice of

Removal on Certain Underwriters through their counsel of record and filing a copy of the Notice

of Removal with the Clerk of the Civil District Court for the Parish of Orleans, Louisiana.

       10.     Removal of this action is proper under 28 U.S.C. §§ 1332 and 1441.

       11.     By filing this Notice of Removal, Holding does not waive any defenses and

expressly reserves all available defenses in this matter.

       WHEREFORE, Uniroyal Holding, Inc. prays that this action proceed in this Court as a

properly removed action.

       THIS the 29th day of June, 2022.

                                              Respectfully Submitted,

                                              FORMAN WATKINS & KRUTZ LLP

                                              /s/ T. Peyton Smith
                                              T. Peyton Smith, LA. Bar #34984
                                              Mary R. Arthur, LA. Bar #32644
                                              mimi.arthur@formwanwatkins.com
                                              peyton.smith@formanwatkins.com
                                              201 St. Charles Avenue, Suite 2100
                                              New Orleans, LA 70170
                                              Telephone: (504) 799-4383
                                              Facsimile: (504) 799-4384

                                              ATTORNEYS FOR UNIROYAL HOLDING, INC.



                                                  4                                       Jul 16 2022
        Case MDL No. 875 Document 10153-1 Filed 07/19/22 Page 13 of 79




                                CERTIFICATE OF SERVICE

       I do hereby certify that I have on this 29th day of June 2022, the undersigned served a copy

of the foregoing pleading on all counsel of record in this proceeding in accordance with the Code

of Civil Procedure.


                                     /s/ T. Peyton Smith
                                     T. PEYTON SMITH




                                                5
Case MDL No. 875 Document 10153-1 Filed 07/19/22 Page 14 of 79
Case MDL No. 875 Document 10153-1 Filed 07/19/22 Page 15 of 79
Case MDL No. 875 Document 10153-1 Filed 07/19/22 Page 16 of 79
Case MDL No. 875 Document 10153-1 Filed 07/19/22 Page 17 of 79
Case MDL No. 875 Document 10153-1 Filed 07/19/22 Page 18 of 79
Case MDL No. 875 Document 10153-1 Filed 07/19/22 Page 19 of 79
Case MDL No. 875 Document 10153-1 Filed 07/19/22 Page 20 of 79
Case MDL No. 875 Document 10153-1 Filed 07/19/22 Page 21 of 79
Case MDL No. 875 Document 10153-1 Filed 07/19/22 Page 22 of 79
Case MDL No. 875 Document 10153-1 Filed 07/19/22 Page 23 of 79
Case MDL No. 875 Document 10153-1 Filed 07/19/22 Page 24 of 79
Case MDL No. 875 Document 10153-1 Filed 07/19/22 Page 25 of 79
Case MDL No. 875 Document 10153-1 Filed 07/19/22 Page 26 of 79
Case MDL No. 875 Document 10153-1 Filed 07/19/22 Page 27 of 79
Case MDL No. 875 Document 10153-1 Filed 07/19/22 Page 28 of 79
Case MDL No. 875 Document 10153-1 Filed 07/19/22 Page 29 of 79
Case MDL No. 875 Document 10153-1 Filed 07/19/22 Page 30 of 79
Case MDL No. 875 Document 10153-1 Filed 07/19/22 Page 31 of 79
Case MDL No. 875 Document 10153-1 Filed 07/19/22 Page 32 of 79
Case MDL No. 875 Document 10153-1 Filed 07/19/22 Page 33 of 79
Case MDL No. 875 Document 10153-1 Filed 07/19/22 Page 34 of 79
Case MDL No. 875 Document 10153-1 Filed 07/19/22 Page 35 of 79
Case MDL No. 875 Document 10153-1 Filed 07/19/22 Page 36 of 79
Case MDL No. 875 Document 10153-1 Filed 07/19/22 Page 37 of 79
Case MDL No. 875 Document 10153-1 Filed 07/19/22 Page 38 of 79
Case MDL No. 875 Document 10153-1 Filed 07/19/22 Page 39 of 79
Case MDL No. 875 Document 10153-1 Filed 07/19/22 Page 40 of 79
Case MDL No. 875 Document 10153-1 Filed 07/19/22 Page 41 of 79
Case MDL No. 875 Document 10153-1 Filed 07/19/22 Page 42 of 79
Case MDL No. 875 Document 10153-1 Filed 07/19/22 Page 43 of 79
Case MDL No. 875 Document 10153-1 Filed 07/19/22 Page 44 of 79
Case MDL No. 875 Document 10153-1 Filed 07/19/22 Page 45 of 79
Case MDL No. 875 Document 10153-1 Filed 07/19/22 Page 46 of 79
Case MDL No. 875 Document 10153-1 Filed 07/19/22 Page 47 of 79
Case MDL No. 875 Document 10153-1 Filed 07/19/22 Page 48 of 79
Case MDL No. 875 Document 10153-1 Filed 07/19/22 Page 49 of 79
Case MDL No. 875 Document 10153-1 Filed 07/19/22 Page 50 of 79
Case MDL No. 875 Document 10153-1 Filed 07/19/22 Page 51 of 79
Case MDL No. 875 Document 10153-1 Filed 07/19/22 Page 52 of 79
Case MDL No. 875 Document 10153-1 Filed 07/19/22 Page 53 of 79
Case MDL No. 875 Document 10153-1 Filed 07/19/22 Page 54 of 79
Case MDL No. 875 Document 10153-1 Filed 07/19/22 Page 55 of 79
Case MDL No. 875 Document 10153-1 Filed 07/19/22 Page 56 of 79
Case MDL No. 875 Document 10153-1 Filed 07/19/22 Page 57 of 79
Case MDL No. 875 Document 10153-1 Filed 07/19/22 Page 58 of 79
Case MDL No. 875 Document 10153-1 Filed 07/19/22 Page 59 of 79
Case MDL No. 875 Document 10153-1 Filed 07/19/22 Page 60 of 79
Case MDL No. 875 Document 10153-1 Filed 07/19/22 Page 61 of 79
Case MDL No. 875 Document 10153-1 Filed 07/19/22 Page 62 of 79
         Case MDL No. 875 Document 10153-1 Filed 07/19/22 Page 63 of 79




                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA
                               LAKE CHARLES DIVISION


CARISSA DEVALL AND CHARLES DENNIS *                           CIVIL ACTION NO. 22-00067
                        Plaintiffs *
                                   *
VERSUS                             *                          JUDGE: JDC
                                   *
                                   *
CERTAIN UNDERWRITERS LLOYDS,       *                          MAGISTRATE: KK
LONDON                             *
                        Defendant  *
*    *    *    *    *   *       *  *

      ANSWER AND AFFIRMATIVE DEFENSES TO PLAINTIFFS COMPLAINT

       NOW INTO COURT, through undersigned counsel, comes Defendant, Certain

                                                              B1180D190620/136LA (incorrectly

         Certain

                              its Answer and Affirmative Defenses to the Complaint filed by

Plaintiffs, Carissa Devall and Charles Dennis           s .

                                  AFFIRMATIVE DEFENSES

       Defendant pleads all of the affirmative defenses available to it pursuant to the Louisiana

Code of Civil Procedure Article 1005 including, but not limited to, the following non-exclusive

affirmative defenses.

                                         FIRST DEFENSE

       Defendant denies the allegations of any unnumbered or misnumbered paragraphs and any

allegations contained in the Complaint, which have not heretofore been addressed, as well as

those allegations contained in the prayer for relief.




                                                  1
         Case MDL No. 875 Document 10153-1 Filed 07/19/22 Page 64 of 79




                                      SECOND DEFENSE

       At all times pertinent hereto, Defendant and/or its agents have acted reasonably and in

good faith in the investigation and handling of the Plaintiffs

and/or its agents acted arbitrarily or capriciously or without probable cause.

                                       THIRD DEFENSE

       Defendant breached no contractual obligation owed to Plaintiffs or any other party.

                                      FOURTH DEFENSE

       Defendant violated no legal duty owed to Plaintiffs.

                                        FIFTH DEFENSE

       Plaintiffs

deductibles, and limitations in the Policy.

                                        SIXTH DEFENSE

       A timely and thorough inspection by Defendant, or its agents, of the Property at issue and

the damage claimed by Plaintiffs revealed that the portions of the damage claimed, upon which

this lawsuit is based, may be excluded under the Policy provisions below.

                                      SEVENTH DEFENSE

       The following Policy Provisions apply and exclude coverage for Plaintiffs

damage claim, which forms the basis of this lawsuit:

                          HOMEOWNERS DECLARATION PAGE

       This Declaration Page is attached to and forms part of the certificate provisions




                                                 2
 Case MDL No. 875 Document 10153-1 Filed 07/19/22 Page 65 of 79




6.   Sums Insured:                  USD 560, 320 each and every occurrence

     Section I

     Coverage A:     Dwelling                USD 560,320
     Coverage B:     Other Structures        USD Excluded
     Coverage C:     Personal Property       USD Excluded
     Coverage D:     Loss of Use             USD Excluded



     Deductibles

     All Other Perils Deductibles USD 5,000 each and every occurrence
     Named Windstorm or Hail 2% each and every occurrence calculated on
     Coverage A Deductible



                   HOMEOWNERS 3              SPECIAL FORM



     SECTION I       PROPERTY COVERAGES


     B. Coverage B      Other Structures

     1.
          the dwelling by clear space. This includes structures connected to the
          dwelling by only a fence, utility line, or similar connection.



     SECTIONS I AND II CONDITIONS



     E. Assignment

     Assignment of this policy will not be valid unless we give our written
     consent.




                                         3
           Case MDL No. 875 Document 10153-1 Filed 07/19/22 Page 66 of 79




                    EXISTING DAMAGE EXCLUSION ENDORSEMENT

                                   APPLIES TO ALL FORMS

                EXCLUSIONS

                The following exclusions are added under
                Section I Exclusions
                in Forms HO 00 03, HO 00 04, HO 00 05 and HO 00 06, and
                Exclusions
                in Forms DP 00 01 and DP 00 03 only.

                Existing Damage

                We do not insure for loss caused directly or indirectly by existing damage.
                Such loss is excluded regardless of any other cause or event contributing
                concurrently or in any sequence to the loss. These exclusions apply
                whether or not the loss event results in widespread damage or affects as
                substantial area.

                Existing Damage means:

                a) Any damages which occurred prior to policy inception regardless of
                   whether such damages were apparent at the time of the inception of
                   this policy or at a later date;
                b) Any claims or damages arising out of workmanship, repairs and or
                   lack of repairs arising from damage which occurred prior to policy
                   inception; or
                c) Any claims or damages unless all structures covered by your previous
                   policy have been fully and completely repaired. Prior to such
                   completion of repairs, coverage will be limited to the actual cash value
                   of the property at the time of a covered loss occurring during the
                   policy period.

                All other provisions of this policy apply.

                                       EIGHTH DEFENSE

          Defendant timely inspected and adjusted the claim made by Plaintiffs as a result of

damage sustained to the Property at issue in Hurricane Laura and Hurricane Delta under the

Policy.




                                                  4
         Case MDL No. 875 Document 10153-1 Filed 07/19/22 Page 67 of 79




                                        NINTH DEFENSE

                                                                                              Harold

and Maurine Rhodes bearing Policy No. B1180D190620/136LA

document, is the best evidence of its terms, conditions, endorsements, and exclusions. The policy

B1180D190620/136LA is pled in its entirety, and attached hereto as

                                        TENTH DEFENSE

                affirmatively asserts that any further liability it may have under the Policy, which

liability is expressly denied, is subject to the limits of insurance coverage contained in the Policy.

                                                                     in the terms of the Policy.

                                     ELEVENTH DEFENSE

       Plaintiffs

this dispute was lost, spoliated, suppressed, or otherwise not preserved as required by Louisiana

law.

                                      TWELFTH DEFENSE

       Plaintiffs have no right                              as the Policy was issued to Harold and



than six months prior to the sale of the Property at issue to Plaintiffs.

                                    THIRTEENTH DEFENSE

       In the further alternative, Defendant alleges and avers that the Plaintiffs have or may have

failed to mitigate their alleged damages, and recovery herein is defeated or mitigated.

                                   FOURTEENTH DEFENSE

       Plaintiffs                     of loss submission substantially exceeded prior estimates

and/or proofs of loss and contained damage unrelated to that sustained in Hurricane Laura and



                                                   5
        Case MDL No. 875 Document 10153-1 Filed 07/19/22 Page 68 of 79




Hurricane Delta and/or was not visible upon inspection.

                                    FIFTEENTH DEFENSE

       The cause of the incident was due to superseding and/or intervening acts over which



                                    SIXTEENTH DEFENSE

       In the further alternative, in the event Defendant is found liable for any loss or expense,

which is specifically denied, any mortgagee named in the Policy or any successor mortgagees

must be included in any payment.

                                  SEVENTEENTH DEFENSE

       Defendant further avers that the Plaintiffs have or may have failed to submit timely and

adequate proof of loss for the claims asserted in accordance with the terms, conditions and

limitations of the subject policy as well as La. R.S. 22:1264.

                                   EIGHTEENTH DEFENSE

       Plaintiffs have no cause of action and/or no right of action against Defendant.

                                   NINETEENTH DEFENSE

       Any rights under this policy were improperly assigned to Plaintiff Carissa Devall and

Plaintiff Charles Dennis by Harold and Maurine Rhodes.

                                   TWENTIETH DEFENSE

       Defendant reserves the right to supplement and/or amend these pleadings as necessary,

including, but not limited to, the right to raise any additional affirmative defenses, which may be

uncovered in the course of discovery, which has yet to begin.

       AND NOW, without waiving any of the foregoing defenses, Defendant answers the

allegations of the Complaint, categorically and by paragraph:



                                                 6
         Case MDL No. 875 Document 10153-1 Filed 07/19/22 Page 69 of 79




                                                  1.

        The allegations contained in Paragraph 1 are denied for lack of information sufficient to

justify a belief therein.

                                                  2.

        The allegations contained in Paragraph 2 are denied for lack of information sufficient to

justify a belief therein.

                                                  3.



B1180D190620/136LA, denies Paragraph 3 as written, as it contains legal conclusions to which

no response is required. To the extent that a response is required, the allegations are denied for

lack of information sufficient to justify a belief therein. Further, Defendant is an approved,

unauthorized surplus lines carriers doing business in the State of Louisiana. Any and all

connotations of liability contained therein are denied.

                                                  4.

        The allegations in Paragraph 4 contain legal conclusions for which no answer is

required. To the extent that a response is required, the allegations are denied.

                                                  5.

        The allegations in Paragraph 5 contain legal conclusions for which no answer is required.

To the extent that a response is required, the allegations are denied.

                                                  6.

        The allegations contained in Paragraph 6 are denied. Plaintiffs did not purchase the

Property at issue until April 22, 2021. See Exhibit B, attached hereto.




                                                  7
        Case MDL No. 875 Document 10153-1 Filed 07/19/22 Page 70 of 79




                                                 7.

       Defendant denies the allegations in Paragraph 7 to the extent that it presumes liability.

The allegations contained in Paragraph 7 are admitted to the extent Defendant issued a policy of

insurance to Harold and Maurine Rhodes, Policy No. B1180D190620/136LA, to insure the

property located at 4490 Choupique Road, Sulphur, LA 70665, effective from October 21, 2019

through October 21, 2020, which is the best evidence of its terms and conditions. Defendant

denies any remaining allegations contained in Paragraph 7.

                                                 8.

       The allegations in Paragraph 8 are denied as written.

                                                 9.

       Defendant denies the allegations in Paragraph 9 to the extent that it presumes liability.

The allegations contained in Paragraph 9 are admitted only to the extent that Plaintiffs made a

claim under Policy No. B1180D190620/136LA with claim number 201000048.

                                                 10.

       The allegations in Paragraph 10 contain legal conclusions for which no answer is

required and further call for technical/scientific expert opinion. To the extent that a response is

required, the allegations are denied. Plaintiffs did not purchase the Property at issue until April

22, 2021. See Exhibit B, attached hereto.

                                                 11.

       The allegations contained in Paragraph 11 are denied as written.

                                                 12.

       The allegations in Paragraph 12 contain legal conclusions for which no answer is

required and further call for technical/scientific expert opinion. To the extent that a response is



                                                8
         Case MDL No. 875 Document 10153-1 Filed 07/19/22 Page 71 of 79




required, the allegations are denied.

                                                   13.

       The allegations contained in Paragraph 13 are denied.

                                                   14.

       The allegations contained in Paragraph 14 contain legal conclusions to which no response

is required. To the extent that a response is required, the allegations are denied.

                                                   15.

       The allegations contained in Paragraph 15 are denied.

                                                   16.

       The allegations contained in Paragraph 16 are denied. Further, Plaintiffs did not purchase

the Property at issue until April 22, 2021. See Exhibit B, attached hereto.

                                                   17.

       The allegations contained in Paragraph 17 contain legal conclusions to which no response

is required and further call for technical/scientific expert opinion. To the extent that a response is

required, the allegations are denied. Further, Plaintiffs did not purchase the Property at issue until

April 22, 2021. See Exhibit B, attached hereto.

                                                   18.

       The allegations contained in Paragraph 18 are

was able to coordinate and conduct an inspection of the Property. All other allegations contained

in Paragraph 18 are denied.

                                                   19.

       The allegations contained in Paragraph 19 contain legal conclusions to which no response

is required. To the extent that a response is required, the allegations are denied for lack of



                                                  9
         Case MDL No. 875 Document 10153-1 Filed 07/19/22 Page 72 of 79




information sufficient to justify a belief therein.

                                                      20.

        The allegations contained in Paragraph 20 contain legal conclusions to which no response

is required. To the extent that a response is required, the allegations are denied for lack of

information sufficient to justify a belief therein.

                                                      21.

        The allegations contained in Paragraph 21 contain legal conclusions to which no response

is required. To the extent that a response is required, the allegations are denied.

                                                      22.

        The allegations contained in Paragraph 22 contain legal conclusions to which no response

is required. To the extent that a response is required, the allegations are denied.

                                                      23.

        The allegations contained in Paragraph 23 contain legal conclusions to which no response

is required and further call for technical/scientific expert opinion. To the extent that a response is

required, the allegations are denied.

                                                      24.

        The allegations contained in Paragraph 24 contain legal conclusions to which no response

is required and further call for technical/scientific expert opinion. To the extent that a response is

required, the allegations are denied.

                                                      25.

        The allegations contained in Paragraph 25 contain legal conclusions to which no response

is required. To the extent that a response is required, the allegations are denied.




                                                  10
         Case MDL No. 875 Document 10153-1 Filed 07/19/22 Page 73 of 79




                                                   26.

       The allegations contained in Paragraph 26 contain legal conclusions to which no response

is required. To the extent that a response is required, the allegations are denied.

                                                   27.

       The allegations contained in Paragraph 27 contain legal conclusions to which no response

is required. To the extent that a response is required, the allegations are denied.

                                                   28.

       The allegations contained in Paragraph 28 contain legal conclusions to which no response

is required. To the extent that a response is required, the allegations are denied.

                                                   29.

       The allegations contained in Paragraph 29 contain legal conclusions to which no response

is required and further call for technical/scientific expert opinion. To the extent that a response is

required, the allegations are denied.

                                                   30.

       The allegations contained in Paragraph 30 are denied.

                                                   31.

       The allegations contained in Paragraph 31 contain legal conclusions to which no response

is required. To the extent that a response is required, the allegations are denied.

                                                   32.

       The allegations contained in Paragraph 32 are denied.

                                                   33.

       The allegations contained in Paragraph 33 are denied.




                                                 11
         Case MDL No. 875 Document 10153-1 Filed 07/19/22 Page 74 of 79




                                                   34.

        The allegations contained in Paragraph 34 contain legal conclusions to which no response

is required. To the extent that a response is required, the allegations are denied.

                                                   35.

        The allegations contained in Paragraph 35 are denied for lack of information sufficient to

justify a belief therein.

                                                   36.

        The admissions and denials of Paragraphs 1-35 of the Answer are repeated with the same

force and effect as if set forth at length herein. Any remaining allegations contained in Paragraph

36 are denied.

                                                   37.

        Defendant denies the allegations in Paragraph 37 to the extent that it presumes liability

and legal assignment of the Policy. Defendant further responds that it issued a policy of

insurance to Harold and Maurine Rhodes, Policy No. B1180D190620/136LA, to insure the

property located at 4490 Choupique Road, Sulphur, LA 70665, effective from October 21, 2019

through October 21, 2020, which is the best evidence of its terms and conditions. Defendant

denies any remaining allegations contained in Paragraph 37.

                                                   38.

        Defendant denies the allegations in Paragraph 38 as written and to the extent that it

presumes liability. The allegations contained in Paragraph 38 are admitted to the extent

Defendant issued a policy of insurance to Harold and Maurine Rhodes, Policy No.

B1180D190620/136LA, to insure the property located at 4490 Choupique Road, Sulphur, LA

70665, effective from October 21, 2019 through October 21, 2020, which is the best evidence of



                                                 12
         Case MDL No. 875 Document 10153-1 Filed 07/19/22 Page 75 of 79




its terms and conditions. Defendant denies any remaining allegations contained in Paragraph 38.

                                                   39.

       The allegations contained in Paragraph 39 contain legal conclusions to which no response

is required and further call for technical/scientific expert opinion. To the extent that a response is

required, the allegations are denied.

                                                   40.

       The allegations contained in Paragraph 40 contain legal conclusions to which no response

is required. To the extent that a response is required, the allegations are denied.

                                                   41.

       The allegations contained in Paragraph 41 contain legal conclusions to which no response

is required and further call for technical/scientific expert opinion. To the extent that a response is

required, the allegations are denied.

                                                   42.

       The allegations contained in Paragraph 42 contain legal conclusions to which no response

is required. To the extent that a response is required, the allegations are denied.

                                                   43.

       The allegations contained in Paragraph 43 contain legal conclusions to which no response

is required. To the extent that a response is required, the allegations are denied.

                                                   44.

       The allegations contained in Paragraph 44 are denied.

                                                   45.

       The allegations contained in Paragraph 45 are denied.




                                                 13
         Case MDL No. 875 Document 10153-1 Filed 07/19/22 Page 76 of 79




                                                   46.

       The allegations contained in Paragraph 46 contain legal conclusions to which no response

is required. To the extent that a response is required, the allegations are denied.

                                                   47.

       The admissions and denials of Paragraphs 1-46 of the Answer are repeated with the same

force and effect as if set forth at length herein. Any remaining allegations contained in Paragraph

47 are denied.

                                                   48.

       The allegations contained in Paragraph 48 contain legal conclusions to which no response

is required. To the extent that a response is required, the allegations are denied.

                                                   49.

       The allegations contained in Paragraph 49 contain legal conclusions to which no response

is required. To the extent that a response is required, the allegations are denied.

                                                   50.

       The allegations contained in Paragraph 50 contain legal conclusions to which no response

is required. To the extent that a response is required, the allegations are denied.

                                                   51.

       The allegations contained in Paragraph 51 contain legal conclusions to which no response

is required. Further, Defendant asserts that Plaintiffs mischaracterize the wording of La.

R.S.22:1892. To the extent that a response is required, the allegations are denied.

                                                   52.

       The allegations contained in Paragraph 52 contain legal conclusions to which no response

is required and further call for technical/scientific expert opinion. Further, Defendant asserts that



                                                 14
         Case MDL No. 875 Document 10153-1 Filed 07/19/22 Page 77 of 79




Plaintiffs mischaracterize the wording of La. R.S.22:1892 and La. R.S. 22:1973. To the extent

that a response is required, the allegations are denied.

                                                   53.

       The allegations contained in Paragraph 53 are denied.

                                                   54.

       The allegations contained in Paragraph 54 contain legal conclusions to which no response

is required. To the extent that a response is required, the allegations are denied.

                                                   55.

       The allegations contained in Paragraph 55 contain legal conclusions to which no response

is required and further call for technical/scientific expert opinion. To the extent that a response is

required, the allegations are denied.

                                                   56.

       The allegations contained in Paragraph 56 are denied.

                                                   57.

       The allegations contained in Paragraph 57 are denied.

                                                   58.

       The allegations contained in Paragraph 58 are denied.

                                                   59.

       The admissions and denials of Paragraphs 1-58 of the Answer are repeated with the same

force and effect as if set forth at length herein. Any remaining allegations contained in Paragraph

59 are denied.




                                                 15
         Case MDL No. 875 Document 10153-1 Filed 07/19/22 Page 78 of 79




                                                   60.

        The allegations contained in Paragraph 60 contain legal conclusions to which no response

is required and further call for technical/scientific expert opinion. To the extent that a response is

required, the allegations contained in Paragraph 60 and all subparts therein are denied.

                                                   61.



subparts therein, and any unnumbered paragraphs are denied.

                                         JURY DEMAND

        Defendant prays for and is entitled to a trial by jury on all issues herein.

        WHEREFORE, the premises considered, Defendant,

London Subscribing to Policy No. B1180D190620/136LA                                           Certain

                                 , prays that this its Answer to the Complaint of Plaintiffs, Carissa

Devall and Charles Dennis, be deemed good and sufficient, and that after due proceedings are

had, there be judgment herein in favor of Defendant and against the Plaintiffs, dismissing the

Plaintiffs                 s                                          uch other and further relief as

equity and the justice of cause may require and permit.




                                                  16
         Case MDL No. 875 Document 10153-1 Filed 07/19/22 Page 79 of 79




                                        Respectfully submitted,

                                        /s/ Jennifer R. Buckingham
                                        ________________________________________
                                        RICHARD G. DUPLANTIER, JR. (#18874)
                                        JENNIFER R. BUCKINGHAM (#33636)
                                        HENRY M. WEBER (#35374)
                                        GALLOWAY, JOHNSON, TOMPKINS,
                                                BURR & SMITH
                                        701 Poydras Street, 40th Floor
                                        New Orleans, Louisiana 70139
                                        Telephone:      (504) 525-6802
                                        Facsimile:      (504) 525-2456
                                        Counsel for Defendant,
                                        Certain Underwriters at
                                        Policy No. B1180D190620/136LA

                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on the 9th day of March, 2022, undersigned electronically

filed the foregoing with the Clerk of Court by using the CM/ECF system which will send notice

of electronic filing to all counsel of record.

                                        /s/ Jennifer R. Buckingham
                                        _____________________________________
                                        JENNIFER R. BUCKINGHAM




                                                 17
